      Case: 1:19-cv-04918 Document #: 9 Filed: 08/19/19 Page 1 of 1 PageID #:18


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Jaya Patel v. O M Namah, Inc.,                 Case Number: 19-cv-04918
            et. al.

An appearance is hereby filed by the undersigned as attorney for:
Defendants O M Namah, Inc., Maneklal Patel, and Chandrika Patel
Attorney name (type or print): Anish Parikh

Firm: Parikh Law Group, LLC

Street address: 150 S. Wacker Drive, Suite 2600

City/State/Zip: Chicago, IL 60606

Bar ID Number: 6298612                                     Telephone Number: 312-725-3476
(See item 3 in instructions)

Email Address: anish@plgfirm.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on August 19, 2019

Attorney signature:            S/ Anish Parikh
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
